                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                               CENTRAL DIVISION

 UNITED STATES OF AMERICA,
                 Plaintiff,                              No. CR08-3041-LRR
 vs.                                           REPORT AND RECOMMENDATION
                                                CONCERNING PLEA OF GUILTY
 ERIC CHAPMAN,
                 Defendant.
                                 ____________________

          On November 17, 2008, the above-named defendant, by consent, appeared before
the undersigned United States Magistrate Judge pursuant to Federal Rule of Criminal
Procedure 11, and entered pleas of guilty to Counts One, Four and Five of the Indictment.
After cautioning and examining the defendant under oath concerning each of the subjects
mentioned in Rule 11, the court determined that the guilty pleas were knowledgeable and
voluntary, and the offenses charged were supported by an independent basis in fact
containing each of the essential elements of the offenses.           The court therefore
RECOMMENDS that the pleas of guilty be accepted and the defendant be adjudged
guilty.
          At the commencement of the Rule 11 proceeding, the defendant was placed under
oath and advised that if he answered any questions falsely, he could be prosecuted for
perjury or for making a false statement. He also was advised that in any such prosecution,
the Government could use against him any statements he made under oath.
          The court then asked a number of questions to ensure the defendant’s mental
capacity to enter a plea. The defendant stated his full name, his age, and the extent of his
schooling. The court inquired into the defendant’s history of mental illness and addiction
to narcotic drugs. The court further inquired into whether the defendant was under the
influence of any drug, medication, or alcoholic beverage at the time of the plea hearing.




       Case 3:08-cr-03041-LRR-JSS      Document 30      Filed 11/17/08     Page 1 of 6
From this inquiry, the court determined that the defendant was not suffering from any
mental disability that would impair his ability to make knowing, intelligent, and voluntary
pleas of guilty to the charges.
          The defendant acknowledged that he had received a copy of the Indictment, and he
had fully discussed these charges with his attorney.
          The court determined that the defendant was pleading guilty under a plea agreement
with the Government. After confirming that a copy of the written plea agreement was in
front of the defendant and his attorney, the court determined that the defendant understood
the terms of the plea agreement. The court then summarized the plea agreement, and made
certain the defendant understood its terms.
          The defendant was advised that any sentencing recommendation by the Government,
or any agreement not to oppose a particular sentence, would not be binding on the court,
and the defendant would have no right to withdraw his pleas if such a recommendation or
request were not accepted by the court. The defendant was advised also that after his pleas
were accepted, he would have no right to withdraw the pleas at a later date, even if the
sentence imposed was different from what the defendant or his counsel anticipated.
          The court then summarized the charges against the defendant, and listed the
elements of the crimes. The court determined that the defendant understood each and
every element of the crimes, ascertained that his counsel had explained each and every
element of the crimes fully to him, and the defendant’s counsel confirmed that the
defendant understood each and every element of the crimes charged.
          The court then elicited a full and complete factual basis for all elements of the
crimes charged in each Count of the Indictment to which the defendant was pleading
guilty.
          The court advised the defendant of the consequences of his pleas, including, for
each Count, the maximum fine, and the maximum term of imprisonment.


                                               2


     Case 3:08-cr-03041-LRR-JSS          Document 30      Filed 11/17/08   Page 2 of 6
       With respect to Counts One, Four and Five, the defendant was advised that as to
each count, the maximum fine is $250,000; the maximum term of imprisonment is ten
years; and the maximum period of supervised release is three years.
       The defendant also was advised that the court is obligated to impose a special
assessment of $100.00 on each Count, for a total of $300.00, which the defendant must
pay. The defendant also was advised of the collateral consequences of a plea of guilty. The
defendant acknowledged that he understood all of the above consequences.
       The court then explained supervised release to the defendant, and advised him that
a term of supervised release would be imposed in addition to the sentence of imprisonment.
The defendant was advised that among other conditions of supervised release, he could not
commit another federal, State, or local crime while on supervised release, and he could not
possess illegal controlled substances while on supervised release. The defendant was
advised that there are other standard conditions of supervised release, and the court could
impose additional special conditions. The defendant was advised that if he were found to
have violated a condition of supervised release, then his term of supervised release could
be revoked and he could be required to serve in prison all or part of the term of supervised
release without credit for time previously served on supervised release.
       The court also explained to the defendant that the district judge would determine the
appropriate sentence for him at the sentencing hearing. The defendant confirmed that he
understood the court would not determine the appropriate sentence until after the
preparation of a presentence report, which the parties would have the opportunity to
challenge. The defendant acknowledged that he understood the sentence imposed might be
different from what his attorney had estimated. The defendant also was advised that both
he and the Government would have the right to appeal the sentence. The defendant was
advised that parole has been abolished.




                                             3


    Case 3:08-cr-03041-LRR-JSS         Document 30      Filed 11/17/08     Page 3 of 6
         The defendant indicated he had conferred fully with his counsel and he was fully
satisfied with his counsel. The defendant’s attorney indicated the attorney had had full
access to the Government’s discovery materials, and they supported a factual basis for the
pleas.
         The defendant then was advised fully of his right to plead not guilty, or having
already entered a not guilty plea to persist in such plea, and to have a jury trial, including:
         1.    The right to assistance of counsel at every stage of the pretrial and trial
               proceedings;
         2.    The right to a speedy, public trial;
         3.    The right to have his case tried by a jury selected from a cross-section of the
               community;
         4.    That he would be presumed innocent at each stage of the proceedings, and
               would be found not guilty unless the Government could prove each and every
               element of the offense beyond a reasonable doubt;
         5.    That the Government could call witnesses into court, but the defendant’s
               attorney would have the right to confront and cross-examine these witnesses;
         6.    That the defendant would have the right to see and hear all witnesses
               presented at trial;
         7.    That the defendant would have the right to subpoena defense witnesses to
               testify at the trial, and if he could not afford to pay the mileage and other fees
               to require the attendance of these witnesses, then the Government would be
               required to pay those costs;
         8.    That the defendant would have the privilege against self incrimination; i.e.,
               he could choose to testify at trial, but he need not do so, and if he chose not
               to testify, then the court would, if the defendant requested, instruct the jury
               that the defendant had a constitutional right not to testify;
         9.    That any verdict by the jury would have to be unanimous;
         10.   That he would have the right to appeal, and if he could not afford an attorney
               for the appeal, then the Government would pay the costs of an attorney to
               prepare the appeal.



                                                4


    Case 3:08-cr-03041-LRR-JSS           Document 30       Filed 11/17/08     Page 4 of 6
      The defendant also was advised of the rights he would waive by entering a plea of
guilty. The defendant was told there would be no trial, he would waive all the trial rights
just described, and he would be adjudged guilty without any further proceedings except for
sentencing.
      The defendant then confirmed that his decision to plead guilty was voluntary and was
not the result of any promises other than plea agreement promises; no one had promised
him what the sentence would be; and his decision to plead guilty was not the result of any
threats, force, or anyone pressuring him to plead guilty.
      The defendant then confirmed that he still wished to plead guilty, and he pleaded
guilty to Counts One, Four and Five of the Indictment.
      The court finds the following with respect to the defendant’s guilty plea:
      1.      The guilty plea is voluntary, knowing, not the result of force, threats or
              promises, except plea agreement promises, and the defendant is fully
              competent.
      2.      The defendant is aware of the maximum punishment.
      3.      The defendant knows his jury rights.
      4.      The defendant has voluntarily waived his jury rights.
      5.      There is a factual basis for the plea.
      6.      The defendant is, in fact, guilty of the crimes to which he is pleading guilty.
      The defendant has executed a Consent to the Court’s Inspection of Presentence
Report Prior to Guilty Plea.     The defendant was advised that a written presentence
investigation report would be prepared to assist the court in sentencing. The defendant was
asked to provide the information requested by the U.S. Probation Office to prepare the
presentence investigation report. The defendant was told that he and his counsel would
have an opportunity to read the presentence report before the sentencing hearing and to
object to the contents of the report, and he and his counsel would be afforded the
opportunity to present evidence and be heard at the sentencing hearing.


                                              5


    Case 3:08-cr-03041-LRR-JSS         Document 30      Filed 11/17/08     Page 5 of 6
      The defendant was advised that the failure to file written objections to this Report
and Recommendation within 10 days of the date of its service would bar him from attacking
this court’s Report and Recommendation, which recommends that the assigned United
States District Judge accept the defendant’s pleas of guilty. A copy of this Report and
Recommendation was served on the defendant and his attorney at the conclusion of the
proceeding.
      DONE AND ENTERED at Sioux City, Iowa, this 17th day of November, 2008.




                                        PAUL A. ZOSS
                                        CHIEF MAGISTRATE JUDGE
                                        UNITED STATES DISTRICT COURT




                                           6


    Case 3:08-cr-03041-LRR-JSS       Document 30      Filed 11/17/08    Page 6 of 6
